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 1                                UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3 Charles Eric Stewart,                                      Case No.: 2:21-cv-02088-APG-VCF

 4             Petitioner,                                  Order Referring Petition to Court of
                                                                         Appeals
 5 v.
                                                                          [ECF No. 1]
 6 William Gittere,

 7             Respondent.

 8            Petitioner Charles Eric Stewart has filed a counseled petition for a writ of habeas corpus

 9 pursuant to 28 U.S.C. § 2254. ECF No. 1. The petition is a second or successive petition, and I

10 refer it to the court of appeals for a determination whether to authorize the filing of the petition.

11            On October 19, 2006, the state district court convicted Stewart of one count of second-

12 degree murder with the use of a deadly weapon. Stewart filed a habeas corpus petition under 28

13 U.S.C. § 2254 in this court.1 That petition contained three grounds. The court determined that

14 ground 3, containing multiple claims of ineffective assistance of counsel, was unexhausted.2 The

15 court denied Stewart's motion to stay the action while he exhausted the ground in the state

16 courts.3 The court then dismissed ground 3 upon Stewart's motion.4 The court then denied the

17 remaining two grounds for relief on their merits.5 Both this court and the Ninth Circuit denied

18 Stewart a certificate of appealability.6

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20   1
         Stewart v. Neven, Case No. 2:09-cv-01063-PMP-GWF.
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21       Stewart v. Neven, ECF No. 29. See also 28 U.S.C. § 2254(b).
     3
         Stewart v. Neven, ECF No. 32.
22   4
         Stewart v. Neven, ECF No. 35.
23   5
         Stewart v. Neven, ECF No. 37.
     6
         Stewart v. Neven, ECF No. 37, 41.
              Case 2:21-cv-02088-APG-VCF Document 3 Filed 11/23/21 Page 2 of 2




 1             Stewart now has filed the current petition. Because the court has denied the earlier

 2 petition on its merits, the current petition is a second or successive petition.7 Stewart thus needs

 3 authorization from the Ninth Circuit to file a second or successive petition.8 The Ninth Circuit

 4 has not transferred the action to this court with authorization, Stewart has not attached

 5 authorization to his petition, and my search of the Ninth Circuit's on-line docket has not found

 6 any application for authorization. I will refer Stewart's petition to the Ninth Circuit for a

 7 determination whether to authorize the filing of a second or successive petition.9

 8             IT THEREFORE IS ORDERED that the Clerk of the Court refer this action to the United

 9 States Court of Appeals for the Ninth Circuit under Circuit Rule 22-3(a), for a determination

10 whether to authorize the filing of a second or successive petition.

11             IT FURTHER IS ORDERED that Clerk of the Court administratively close this action.

12             DATED: November 23, 2021

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14
                                                            ANDREW P. GORDON
                                                            UNITED STATES DISTRICT JUDGE
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22   7
         28 U.S.C. § 2244(b).
23   8
         28 U.S.C. § 2244(b)(3).
     9
         See Circuit Rule 22-3(a).

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